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12   AMERICAN STANDARD BRANDS

13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14
     ROBERT WEISS, individually and on behalf of       Case No. 3:21-cv-06354-JCS
15
     all others similarly situated,
                                                       JOINT STIPULATION OF DISMISSAL
16
                         Plaintiff,                    WITH PREJUDICE; [PROPOSED]
                                                       ORDER
17
           vs.
18
     AS AMERICA, INC. d/b/a AMERICAN
     STANDARD BRANDS, a Delaware
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     corporation,
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                         Defendant.
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                              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
                                                                       Case No: 3:21-CV-06354-JCS
                                                                                        4865-5752-9375
                                                                                     4865-5752-9375.v1
           Case 3:21-cv-06354-JCS Document 36 Filed 06/30/22 Page 2 of 3




 1          Plaintiff Robert Weiss and defendant AS America, Inc., d/b/a American Standard Brands,

 2   hereby stipulate as follows:

 3                  (1)     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this lawsuit may be

 4          dismissed with prejudice; and

 5                  (2)     each party shall bear his or its own attorneys’ fees, costs, and

 6          expenses.

 7
     Dated: June 29, 2022                            FINKELSTEIN & KRINSK LLP
 8                                                   JEFFREY R. KRINSK
 9                                                       /s/ Jeffrey R. Krinsk
                                              By:    JEFFREY R. KRINSK, Attorneys for Plaintiff
10                                                   ROBERT WEISS and the Putative Class
11

12
     Dated: June 29, 2022                           MARK D. LITVACK
13                                                  JEFFREY D. WEXLER
                                                    PILLSBURY WINTHROP SHAW PITTMAN LLP
14
                                                       /s/ Mark D. Litvack
15                                           By:    MARK D. LITVACK, Attorneys for Defendant AS
                                                    AMERICA, INC. d/b/a AMERICAN STANDARD
16                                                  BRANDS

17
            PURSUANT TO STIPULATION, IT IS ORDERED as follows:
18
                    (1)     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this lawsuit is hereby
19
            dismissed with prejudice; and
20
                    (2)     each party shall bear his or its own attorneys’ fees, costs, and
21
            expenses.
22

23
             June 30, 2022
     Dated: ________________________                _______________________________________
24                                                  The Honorable Joseph C. Spero
                                                    United States Magistrate Judge
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28                                                      2
                                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
                                                                              Case No: 3:21-cv-06354-JCS
                                                                                                  4865-5752-9375.v1
          Case 3:21-cv-06354-JCS Document 36 Filed 06/30/22 Page 3 of 3




 1                              ATTESTATION FOR SIGNATURE

 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3   filing of this document has been obtained from Jeffrey R. Krinsk, counsel for defendant AS America

 4   Inc., d/b/a American Standard Brands.

 5   Dated: June 29, 2022                         _______/s/ Mark D. Litvack
                                                        Mark D. Litvack
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                                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
                                                                          Case No: 3:21-cv-06354-JCS
                                                                                              4865-5752-9375.v1
